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                                          No. 12-648C                          FILED
                                      Fifed: March 7.2014
                                              .                              MAR 7    2014

 DAVID ROWLAND MANUEL.                        -                           U.S. ccufl | OF
                                              -                          FEDEHALCLA|MS
                      Plaintiff,
                                                       Pro Se Plaintiff: ln Forma
                 v.
                                              .                  Apptici-tioTf
                                              -        -paui-eris
                                                       28 U.S.C. S 1915; Lack of
 UNITED STATES,                               *        Subject Matter Jurisdiction.

                      Defendant.



       David Rowland Manuel, Long Beach, CA, pro se.

       David F. D'Alessandris, Trial Attorney, Commercial Litigation Branch, Civil
Division, United States Department of Justice, Washington, D.C., for the defendant.
With him were Bryant G. Snee, Acting Director, Commercial Litigation Branch, and
Stuart F. Delery, Assistant Attorney General, Civil Division.

                                        ORDER
HORN. J.

       Pro se plaintiff, David Rowland Manuel, filed a complaint in this court naming the
"United States," and "Federal Student Aid U.S. Department of Education" as
defendants.l In his complaint plaintiff requests an exemption from revised "legislation in
Title 34 Code of Federal Regulations," which plaintiff alleges limits his eligibility to
receive student financial assistance. Plaintiff alleges that, based on this revised
legislation, recipients of federal financial aid are "limited and terminated after six
semesters or 6007o of receiving student aid grants or loans in the full amount," for post-
secondary schools and college. Plaintiff claims that he attended Long Beach City
College, Liberal Arts Campus, a community college in Long Beach, California, and that
the legislation limited his eligibility for a Federal Pell Grant in the amount of $3,500.00
that was offered to him by the Financial Aid Office of his college for full-time attendance.
Plaintiff attached to his complaint a Financial Aid Award Notification Letter, issued by
Long Beach City College on May 29, 2012, to demonstrate that he was offered a
Federal Pell Grant in the amount of $1,750.00 for the fall semester and another Federal
Pell Grant in the amount of $1,750.00 for the spring semester. Plaintiff states this was
1 In the caption of his complaint, plaintiff
                                              conectly names the United States as the
defendant, but in the section of his complaint titled "Parties," plaintiff names "Defendant:
Federal Student Aid U.S. Department of Education."
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 his "only proof for this case." Plaintiff also states in his complaint that he wishes to
"remain permanently eligible for federal student aid." Plaintiff also references Title Vl,
Section 602 and Section 603 of the Civil Rights Act of 1964, which he states is "a
federal law that supersedes all federal administrative laws of the U.S. Department of
 Education by federal preemption (Article 1 Section I Clause 18 and Article Vl Clause 2
 U.S. Constitution)." (emphasis in original). Plaintiff claims that "[t]his court has
jurisdiction pursuant to 28 USC 1331 and 28 USC 1343," and that a "lflederal question
arises pursuant to 28 USC 1491." Plaintiff also alleges that "[t]he venue is proper for
this court pursuant to 28 USC 1391 because the Defendant is a United States federal
department. "

        Along with his pro se complaint, plaintiff submitted an Application to Proceed ln
Forma Pauperis, asserting that he is unable "to pay all court fees," and requesting
waiver of court costs and fees. His Application indicates that he is unemployed, and
"[fjor the past 12 months     . had received gifts of money in the amount of $700 each
month from friends and/or relatives. $8,400 yearly." Plaintiff further states: "Also for the
past 12 months I had received general relief payment aid from the Los Angeles County
Department of public social services in the amount ol $221 each month. Yearly total is
$2,652.' In his Application, plaintiff also asserts that he has not received any pensions,
annuities, life insurance, rents, interest or dividends in the last twelve months, and he
states he does not own real estate, stock, bonds, cash, savings or checking accounts,
an automobile or any other valuable property.

        In order to provide access to this court to those who cannot pay the filing fees
mandated by Rule 77.1(c) (2013) of the Rules of the United States Court of Federal
Claims (RCFC), the statute at 28 U.S.C. S 191 5 (2006) permits a court to allow ptaintiffs
to file a complaint without payment of fees or security, under specific circumstances.
The standard in 28 U.S.C. g 1915(a)(1) for in forma pauperis eligibility is "unable to pay
such fees or give security therefor." Determination of what constitutes "unable to pay"
or unable to "give security therefor," and, therefore, whether to allow a plaintiff to
proceed in forma pauperis is left to the discretion of the presiding judge, based on the
information submitted by the plaintiff or plaintiffs. See, e.q., Rowland v. Cal. Men's
Colonv, Unit ll Men'sAdvisorv Council,506 U.S. 194,217-18 (1993); Fuentes v. United
States, 100 Fed. Cl. 85,92 (2011). In Fiebelkorn v. United States, the United States
Court of Federal Claims indicated:

      [T]he threshold for a motion to proceed in forma pauperis is not high: The
      statute requires that the applicant be "unable to pay such fees." 28 U.S.C.
      S 1915(a)(1). To be "unable to pay such fees" means that paying such
      fees would constitute a serious hardship on the plaintiff, not that such
      payment would render plaintiff destitute.

Fiebelkorn v. United States
                        ,77 Fed. Cl. 59, 62 (2007); see also Haves v. United States,
71 Fed. Cl. 366, 369 (2006). Although Mr. Manuel's income level and absence of
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savings may qualify him for in forma pauoeris status, as is discussed below, his
complaint is dismissed for lack of jurisdiction in this court.

        Defendant moved to dismiss plaintiffs complaint, pursuant to RCFC 12(bX1)
(20'13), alleging that this court does not have subject matter jurisdiction to entertain Mr.
Manuel's claims, as plaintiff "has not identified a source of law, separate from the
Tucker Act, 28 U.S.C. S 1491, that creates a separate right to money damages."
Moreover, defendant argues, "28 U.S.C. SS 1331, 1343, and 1391 do not establish
jurisdiction." Defendant further argues that "this court lacks jurisdiction pursuant to the
Civil Rights Act of 1964." Although not explicitly raised by plaintiff, defendant also
argues that "Mr. Manuel does not allege a contract with the United States," and
contends that although Mr. Manuel attached a financial aid letter from Long Beach City
College to the complaint, "[t]o the extent he may assert the existence of a contract
based upon that letter, such a contract hypothetically would be with Long Beach City
College, and not with the United States." To date, plaintiff has not responded to the
government's motion to dismiss, although plaintiff has been allotted more time than
provided to do so under the court's Rules.

                                        DISCUSSION

         When determining whether a complaint filed by a pro se plaintiff is sufficient to
 invoke review by a court, oro se plaintiffs are entitled to liberal construction n of their
 pleadings. See Haines v. Kerner, 404 U.S. 519, 520-21 (requiring that allegations
 contained in a pro se complaint be held to "less stringent standards than formal
 pleadings drafted by lawyers"), reh'q denied,405 U.S.948 (1972); see also Erickson v.
 Pardus, 551 U.S. 89, 9a (2007); Huqhes v. Rowe,449 U.S. 5, 9-10 (1980); Estelle v.
 Gamble,429 U.S.97, 106 (1976), reh'q denied,429 U.S. 1066 (1977). "However,
 "'[t]here is no duty on the part of the trial court to create a claim which [the plaintiff] has
 not spelled out in his [or her] pleading.""' Lenoen v. United States, 100 Fed. Cl.317,
 328 (2011) (alterations in original) (quoting Scoqin v. United States,33 Fed. C|.285,
 293 (1995) (quoting Clark v. Nat'l Travelers Life Ins. Co., 518 F.2d 1167, 1'169 (6th Cir.
 1975))); see also Bussie v. United States, 96 Fed. Cl. 89, 94, affd,443 F. App'x 542
 (Fed. Cir. 2011); Minehan v. United States, 75 Fed. Cl. 249, 253 (2007). "While a oro
se plaintiff is held to a less stringent standard than that of a plaintiff represented by an
attorney, the pro se plaintiff, nevertheless, bears the burden of establishing the Court's
jurisdiction by a preponderance of the evidence." Riles v. United States, 93 Fed. Cl.
 163, 165 (2010) (citing Huqhes v. Rowe, 449 U.S. at g and Tavlor v. United States, 303
 F.3d 1357, 1359 (Fed. Cir.) ("Plaintiff bears the burden of showing jurisdiction by a
preponderance of the evidence."), reh'q and reh'q en banc denied (Fed. Cir. 2002)); see
also Harris v. United States, 113 Fed. Cl. 290, 292 (2013) ("Although plaintiffs
pleadings are held to a less stringent standard, such leniency 'with respect to mere
formalities does not relieve the burden to meet jurisdictional requirements."' (quoting
Minehan v. United States, 75 Fed. C|.249,253 (2007))).
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        It is well established that "'subject-matter jurisdiction, because it involves a
 court's power to hear a case, can never be forfeited or waived."' Arbauqh v. Y & H
 Coro., 546 U.S. 500, 514 (2006) (quoting United States v. Cotton, 535 U.S. 625, 630
 (2002)). "[F]ederal courts have an independent obligation to ensure that they do not
exceed the scope of their jurisdiction, and therefore they must raise and decide
jurisdictional questions that the parties either overlook or elect not to press." Henderson
ex rel. Henderson v. Shinseki, 131 S. Ct. 1197,1202 (2011); see also Hertz Corp. v.
 Friend,559 U.S.77,94 (2010) ("Courts have an independent obligation to determine
whether subjeclmatter jurisdiction exists, even when no party challenges it." (citing
Arbauqh v. Y & H Corp., 546 U.S. at 514)); Special Devices. Inc. v. OEA. lnc., 269 F.3d
 1340, 1342 (Fed. Cir. 2001) ('[A] court has a duty to inquire into its jurisdiction to hear
and decide a case." (citing Johannsen v. Pav Less Druo Stores N.W., lnc., 918 F.2d
 160, 161 (Fed. Cir. 1990))); View Enq'q, lnc. v. RoboticVision Svs.. lnc., 115 F.3d 962,
963 (Fed. Cir. 1997) ("[C]ourts must always look to their jurisdiction, whether the parties
 raise the issue or not."). "The objection that a federal court lacks subjeclmatter
jurisdiction . . . may be raised by a party, or by a court on its own initiative, at any stage
inthelitigation,evenaftertrial andtheentryofjudgment." Arbauohv.Y&HCorp.,546
 U.S. at 506; see also Rick's Mushroom Serv., Inc. v. United States,521 F.3d 1338,
 1346 (Fed. Cir. 2008) ("[A]ny party may challenge, or the court may raise sua sponte,
subject matter jurisdiction at any time." (citing Arbauoh v. Y & H Corp., 546 U.S. at 506;
Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir.), reh'o and reh'q en banc
denied (Fed. Cir. 2004), cert. denied, 545 U.S. 1127 (2005): and Fanninq. Phillips &
Molnarv. West, 160 F.3d 717,720 (Fed. Cir. 1998))); Pikulin v. United States,97 Fed.
 Cl.71,76, appeal dismissed,425 F. App'x 902 (Fed. Cir. 201 1). In fact, "[s]ubject
matter jurisdiction is an inquiry that this court must raise sua sponte, even where . .      .

neither party has raised this issue." Metabolite Labs., Inc. v. Lab. Corp. of Am.
Holdinos,370 F.3d'1354, 1369 (Fed. Cir.) (citing Textile Prods.. Inc. v. Mead Corp., 134
F.3d 148'1, 1485 (Fed. Cir.), reh'q denied and en banc suqoestion declined (Fed. Cir.
 1998)), reh'q and reh'q en bancdenied (Fed. Cir.2004), cert. qranted in part,546 U.S.
975 (2005), cert. dismissed as improvidentlv qranted, 548 U.S. 124 (2006).

        Pursuant to the RCFC and the Federal Rules of Civil Procedure, a plaintiff need
only state in the complaint "a short and plain statement of the grounds for the court's
jurisdiction," and "a short and plain statement of the claim showing that the pleader is
entitled to relief." RCFC 8(a)(1), (2) (2013); Fed. R. Civ. P. 8(aX1), (2) (2013); see atso
Ashcroft v. lqbal, 556 U.S. 662, 677-78 (2009) (citing Bell Atl. Corp. v. Twomblv, 550
U.S. 544, 555-57, 570 (2007)). "Determination of jurisdiction starts with the complaint,
which must be well-pleaded in that it must state the necessary elements of the plaintiffs
claim, independent of any defense that may be interposed." Hollev v. United States,
 124 F.3d 1462, 1465 (Fed. Cir.) (citing Franchise Tax Bd. v. Constr. Laborers Vacation
Trust,463 U.S. 1 (1983)), reh'q denied (Fed. Cir. 1997); see also Klamath Tribe Claims
Comm. v. United States, 97 Fed. Cl. 203, 208 (2011); Gonzalez-McCaullev Inv. Grp..
lnc. v. United States, 93 Fed. Cl.710,713 (2010). "Conclusory allegations of law and
unwarranted inferences of fact do not suffice to support a claim." Bradlev v. Chiron
Corp., 136 F.3d 1317, 1322 (Fed. Cir. 1998); see also McZeal v. Sprint Nextel Coro.,
501 F.3d 1354, 1363 n.9 (Fed. Cn.2007) (Dyk, J., concurring in part, dissenting in part)
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(quoting c. wright and A. Miller, Federal Practice and Procedure s 1286 (3d ed.. 2004)).
;A ptaiititt's fac.-tual allegations must'raise a right to relief above the speculative level'
and cross'the line from conceivable to plausible."' Three S Consultino v. United States,
104 Fed. cl. 510, 523 (2012) (quoting Bell Atl. coro. v. Twomblv, 550 u.s. at 555). As
                                   ;[a] pleading that offers 'labels and conclusions' or 'a
stated in Ashcroft v. iqbal,
formulaic recitation oi the elements of a cause of action will not do ' 550 U.S. at 555.
Nor does a complaint suffice if it tenders 'naked assertion[s]' devoid of 'further factual
enhancement.," Ashcroft v. lqbal, 556 u.s. at 678 (quoting Bell Atl. corp. v. Twomblv,
550 U.S. at 555).
       When deciding a case based on a lack of subject matter jurisdiction, this court
must assume that all undisputed facts alleged in the complaint are true and must draw
all reasonable inferences in the non-movant's favor. See Erickson v. Pardus, 551 U.S.
at 94 (citing Bell Atl. Corp. v. Twomblv, 550 U.S. at 555-56 (citing Swierkiewicz v.
Sorema N. A.,534 U.S.506,508 n.1 (2002))); Scheuerv. Rhodes,416 U.S.232,236
(1974), abrooated on other qrounds !y Harlow v. Fitzqerald,45T U.S.800 (1982),
recoqnized !y Davis v. Scherer,468 U.S. 183, 190 (1984); United Pac. lns. Co. v.
United States,464 F.3d 1325, 1327-28 (Fed. Cir.2006); Samish lndian Nation v. United
States,419 F.3d 1355, 1364 (Fed. Cir.2005); Boise Cascade Corp. v. United States,
296 F.3d 1339, 1343 (Fed. Cir.), reh'q and reh'o en banc denied (Fed. Cir. 2002), cer1.
denied, 538 U.S. 906 (2003).

       The Tucker Act grants jurisdiction to this court as follows:

       The United States Court of Federal Claims shall have jurisdiction to render
       judgment upon any claim against the United States founded either upon
       the Constitution, or any Act of Congress or any regulation of an executive
       department, or upon any express or implied contract with the Unitec
       States, or for liquidated or unliquidated damages in cases not sounding in
       tort.

28 U.S.C. $ 1a91(a)(1) (Supp. V 2011). As interpreted by the United States Supreme
court, the Tucker Act waives sovereign immunity to allow jurisdiction over claims
against the United States (1) founded on an express or implied contract with the United
States, (2) seeking a refund from a prior payment made to the government, or (3) based
on federal constitutional, statutory, or regulatory law mandating compensation by the
federal government for damages sustained. see United states v. Navaio Nation, 556
U.S.287, 289-90 (2009); United States v. Mitcheil, +OS U.S. Z06, Zt6 (198S;, see arso
Greenlee Ontv.. Ariz. v. United States , 487 F.3d 871, 875 (Fed. Cir.), fClS      EhSE
banc denied (Fed. Cir. 20A7), ceft. denied,552 U.S. tt+Z lZOOay; g41nre11g4@ "riO
States, 168 F.3d 1310, 1314 (Fed. Cir. 1999).

      "Not every claim invoking the constitution, a federal statute, or a regulation is
cognizable under the Tucker Act. The claim must be one for money damages agarnsr
the united states. . . ." United states v. Mitchell, 463 u.s. at 216; see ilso United
states v. white Mountain Apache Tribe, s37 u.s. 46s, 472 (2003); smiftr u Uniteo
       Case 1:12-cv-00648-MBH Document 6 Filed 03/07/14 Page 6 of 12



States, 709 F. 3d 1114, 1116 (Fed. Cir.), cert. denied, 134 S. Ct. 259 (2013);
RadioShack Corp. v. United States,566 F.3d 1358, 1360 (Fed. Cir.2009); Rick's
Mushroom Serv., Inc. v. United States, 521 F.3d at 1343 ("[P]laintiff must . . . identify a
substantive source of law that creates the right to recovery of money damages against
the United States."). In Ontario Power Generation. Inc. v. United States, the United
States Court of Appeals for the Federal Circuit identified three types of monetary claims
for which jurisdiction is lodged in the United States Court of Federal Claims. The court
wrote:

       The underlying monetary claims are of three types. First, claims
       alleging the existence of a contract between the plaintiff and the
       government fall within the Tucker Act's waiver. . . . Second, the Tucker
      Act's waiver encompasses claims where "the plaintiff has paid money over
      to the Government, directly or in effect, and seeks return of all or part of
      that sum." Eastport S.S. lCoro. v. United States, 178 Ct. Cl. 599, 605-06,1
      372 F.2d [1002,] 1007-08 (1967)l (describing iilegat exaction ctaims as
      claims "in which 'the Government has the citizen's money in its pocket"'
      (quoting Clapo v. United States,127 Ct. C|.505, 117 F. Supp.576,580
      (1954)) . . . . Third, the Court of Federal Claims has jurisdiction over those
      claims where "money has not been paid but the plaintiff asserts that he is
      nevertheless entitled to a payment from the treasury." Eastport S.S., 372
      F.2d at  7.    Claims in this third category, where no payment has been
      made to the government, either directly or in effect, require that the
      "particular provision of law relied upon grants the claimant, expressly or by
      implication, a right to be paid a certain sum." ld., see also Testan tv.
      United Statesl, 424U.5.1392,1 401-02 [1976] ("Where the United States is
      the defendant and the plaintiff is not suing for money improperly exacted
      or retained, the basis of the federal claim-whether it be the Constitution, a
      statute, or a regulation-does not create a cause of action for money
      damages unless, as the Court of Claims has stated, that basis 'in itself . . .
      can fairly be interpreted as mandating compensation by the Federal
      Government for the damage sustained."' (quoting Eastport S.S., 372 F.2d
      at 1009)). This category is commonly referred to as claims brought under
      a "money-mandating" statute.

Ontario PowerGeneration. Inc. v. United States,369 F.3d 1298, 1301 (Fed. Cir.2004);
see also Twp. of Saddle Brook v. United States, 104 Fed. Cl. 101, 106 (2012).

      To prove that a statute or regulation is money-mandating, a plaintiff must
demonstrate that an independent source of substantive law relied upon "'can fairly be
interpreted as mandating compensation by the Federal Government."' united states v.
Navaio Nation, 556 U.S. at 290 (quoting United States v. Testan,424 U.S. at 400); see
also United States v. White Mountain Apache Tribe, 537 U.S. at 472; United States v.
Mitchell,463 U.S. at 217; Blueport Co.. LLC v. United States, 533 F.3d 1374, 1383
(Fed. Cir.2008), cert. denied,555 U.S. 1153 (2009). The source of law granting
monetary relief must be distinct from the Tucker Act itself. see united states v. Navaio
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Nation, 556 U.S. at 290 (The Tucker Act does not create "substantive rights; [it is simply
al jurisdictional provision[] that operate[s] to waive sovereign immunity for claims
premised on other sources of law (e.9., statutes or contracts)."). "'lf the statute is not
money-mandating, the Court of Federal Claims lacks jurisdiction, and the dismissal
should be for lack of subject matter jurisdiction."' Jan's Helicooter Serv., lnc. v. Fed.
Aviation Admin., 525 F.3d 1299, 1308 (Fed. Cir. 2008) (quoting Greenlee Cntv.. Ariz. v.
United States, 487 F.3d at 876); Fisher v. United States, 402 F.3d 1167 , 1173 (Fed. Cir.
2005) (The absence of a money-mandating source is "fatal to the court's jurisdiction
under the Tucker Act."); Peoples v. United States, 87 Fed. Cl. 553, 565-66 (2009).

       ln the case currently before the court, plaintiff indicates that he seeks          an
exemption from limitations on recipients of federal financial aid for college students by
the revised legislation "in Title 34 Code of Federal Regulations." As noted above,
plaintiff claims that the "new legislation of federal financial student aid passed on July 1'
2012," limits his "eligibility for federal financial student aid grant" to six semesters
Plaintiff asks for his eligibility to be reinstated permanently. The legislation plaintiff
appears to reference is the Higher Education Act of 1965, Title lV, Part A, Subpart 1'
Pub. L. 89-329,79 Stat. 1219, which was amended, effective July 1,20'12' by section
309 of the Consolidated Appropriations Act of 2012, Pub. L. 112-74' 125 Stat. 786'
1 1 00 (201 1). The Higher Education Act, at section 401 , codified at 20 U.S.C.A. S 1 070a
(2012), titled "Federal Pell Grants: amount and determinations; applications," governs
eligibility to receive Pell Grants. The Consolidated Appropriations Act ot 2012 reduced
the maximum duration of a student's eligibility to receive Federal Pell Grants from
eighteen full-time semesters to twelve fulltime semesters.

     In his request to be exempted from "the new Legislation in Title 34 Code of
Federal Regulations," plaintiff conflates the statute and implementing federal
regulations. The statute at 20 U.S.C.A. S 1070a(cX5) revised the maximum duration of
a student's eligibility to receive a Pell Grant from eighteen fulltime semesters to twelve
full-time semesters. In its current version, section 401(c)(5) of the Higher Education
Act, codified at 20 U.S.C.A. $ 1070a(c)(5), provides:

       The period during which a student may receive Federal Pell Grants shal
       not exceed 12 semesters, or the equivalent of 12 semesters, as
       determined by the Secretary by regulation. Such regulations shal
       provide, with respect to a student who received a Federal Pell Grant for a
       term but was enrolled at a fraction of full-time, that only that same fraction
       of such semester or equivalent shall count towards such duration limits.

20 U.S.C.A. S 1070a(cX5)

        Just as the statute at 20 U.S.C.A. $ 1070a does not impose a six semester
limitation on who may receive a Pell Grant, the applicable section of Code of Federal
Regulations regarding Pell Grants also does not establish a six semester limitation, as
plaintiff alleges. See, oenerallv, 34 C.F.R. Part 690 (2013). Nowhere in Part 690 of
Title 34 of the code of Federal Regulations, which addresses the Pell Grant program,
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does such a six semester limitation appear. Moreover, as with 20 U.S.C.A. S 1070a,
the regulations in Title 34 of the Code of Federal Regulations do not            mandate
compensation by the federal government for failure to obtain a Pell Grant, nor does the
Pell Grant program itself establish entitlement for the federal fisc. Rather, the statute
and the regulations set guidelines for determination and administration of Pell Grants by
educational institutions. See 20 U.S.C.A. g 1070a(c)(5); 34 C.F.R.690.61 (2013); 34
C.F.R. 690.71 (2013). Therefore, the statute governing eligibility of the Pell Grants
program is not money mandating statute and this court lacks jurisdiction to consider
plaintiff's claim to be given a permanent waiver from the limitations on Pell Grant
eligibility.

          Plaintiff's complaint also states: "This court has jurisdiction pursuant to 28 USC
1                                 .
   331 and 28 USC 1 343 . . . The venue is proper for this court pursuant to 28 USC
 1 391 because the Defendant is a United States federal department." Section 1331 of

 Title 28 of the United States Code states: "The district courts shall have original
jurisdiction of all civil actions arising under the constitution, laws, or treaties of the
 United States." 28 U.S.C. S 1331 (2006). "'The United States Court of Federat Ctaims
 . . . is not a United States District Court and, therefore, does not have jurisdiction over
 claims arising under23 U.S.C. S 1331."' Halim v. United States, 106 Fed. C|.677,693
 (2012) (quoting Hall v. United States,69 Fed. Ct.51,56 (2005)); see atso Mims v.
Arrow Fin. Servs.. LLC, 132 S. CL.740,747 (2012) ("Congress granted federal courts
 general federal-question jurisdiction in 1875. See Act of Mar. 3, 1875, S 1, 18 Stat.
470."); Faulkner v. United States, 43 Fed. Cl. 54, SS (1999) (citing Crocker v. United
 States, 125 F.3d 1475, 1476 (Fed. Cir. 1997)). Moreover, as stated in DeVilbiss v.
 Small Business Administration, 661 F.2d 716 (8th Cir. 1981), Section 1331 is a
jurisdictional statute that "do[es] not create any substantive right enforceable against the
 United States for money damages." ld. at 718; see also Frv v. United States,72 Fed.
C|.500,504-505(2006)("Section[] 1331 ...of Tifle28of theUnitedStatesCodeonty
confer[s] jurisdiction on United states District courts. . . . The United states court of
Federal Claims is not a'district court,'within the meaning of . . .28 U.S.C. S . . . 1331.)
(citing 28 u.s.c. S 1331) (footnotes and additional citation omitted). Furthermore,
plaintiff's reliance on 28 U.s.c. g 1391 also fails. As noted by defendant, "[t]his venue
provision is also applicable only to the district courts." section 1391 of ritle 2g of the
united states code states "[e]xcept as otherwise provided by law-(1) this section shall
govern the venue of all civil actions brought in district courts of the United states." 2g
U.S.C. S 1391(aX1) (2006); see also Cox v. United States, 105 Fed. CL213,218,
aopeal dismissed (Fed. Cir. 2012).

        In his complaint, plaintiff also cites to "28 USC 1343," as well as "Tifle Vl Section
602 and section 603 of the civil Rights Act of 1964," 1o support jurisdiction for his case
 in this court. The statute at 28 u.S.c. S 1343 (2006) specifically provides that
jurisdiction to adjudicate civil rights complaints resides in the United States District
Courts.' See Elkins v. United States,229 Ct. Ct.607, 608 (1981) (,[W]e do not have

2
    The statute at 28 U.S.C. S 1343 states, in part:

                                               I
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jurisdiction over claims based upon alleged violations of the civil rights laws.") (citation
omitted); see also Waqstaff v. United States, 105 Fed. Cl. 99, 109 (2012); Mav v. United
States, 104 Fed. Cl. 278,284 (2012), atf d,534 F. App'x 930 (Fed. Cir. 2013); Hanes v.
 United States, 44Fed.C|.441,449 (1999), aff'd,243 F.3d 562 (Fed. Cir.), reh'q denied
(2000); Sanders v. United States, 34 Fed. Cl. 75, 80 (1995), aff'd, 104 F.3d 376 (Fed.
Cir.), reh'q denied, in banc suqqestion declined (Fed. Cir. 1996) (the general civil rights
claims alleged are not based on any money-mandating provisions, and do not give rise
to liability for the United Slates), cert. denied, 522 U.S. 831, reh'q denied, 522 U.S.
 1036 (1997); Blassinqame v. United States,33 Fed. C|.504,505, aff'd,73 F.3d 379
(Fed. Cir. 1995), reh'o denied, cert. denied,517 U.S. 1237 (1996).

        Finally, Mr. Manuel requests an order from this court granting him a permanent
exemption from the new legislation in "Title 34 Code of Federal Regulations." To the
elitent that Mr. Manuel is asking for declaratory relief, the United States Court of Federal
Claims has limited jurisdiction to grant declaratory relief. As stated by the United States
Court of Appeals for the Federal Circuit:

       The Court of Federal Claims has never been granted general authority to
       issue declaratory judgments, and to hold that the Court of Federal Claims
       may issue a declaratory judgment in this case, unrelated to any money
       claim pending before it, would effectively override Congress's decision not


       (a) The district courts shall have original jurisdiction    of any civil    action
           authorized by law to be commenced by any person:

              (1) To recover damages for injury to his person or property,
              or because of the deprivation of any right or privilege of a
              citizen of the United States, by any act done in furtherance
              of any conspiracy mentioned in section 1985 of Title 42;

              (2) To recover damages from any person who fails to
              prevent or to aid in preventing any wrongs mentioned in
             section 1985 of Title 42 which he had knowledge were about
             to occur and power to prevent;

             (3) To redress the deprivation, under color of any State law,
             statute, ordinance, regulation, custom or usage, of any right,
             privilege or immunity secured by the Constitution of the
             United States or by any Act of Congress providing for equal
             rights of citizens or of all persons within the jurisdiction of the
             United States;

             (4) To recover damages or to secure equitable or other relief
             under any Act of Congress providing for the protection of
             civil rights, including the right to vote.
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       to make the Declaratory Judgment Act applicable to the Court of Federal
       Claims.

 Nat'l Air Traffic Conkollers Ass'n v. United States, 160 F.3d 714,716-17 (Fed. Cir.
 1998); see also United States v. Tohono O'Odham Nation, 131 S. Ct. 1723, 1729
 (2011) (The United States Court of Federal Claims "has no general power to provide
 equitable relief against the Government or its officers."); Massie v. United States, 226
 F.3d 1318, 1321 (Fed. Cir.2000) ("Except in strictly limited circumstances, see 28
 U.S.C. S 1491(bX2), there is no provision in the Tucker Act authorizing the Court of
 Federal Claims to order equitable relief." (citing United States v. Kino, 39S U.S. 1, 4
 (1969) ("cases seeking relief other than money damages from the court of claims have
 never been 'within its jurisdiction"') and Placewav Constr. Corp. v. United States, 920
 F.2d 903, 906 (Fed. Cir. 1990))); James v. Catdera, 159 F.3d 573, S80 (Fed. Cir. 1998)
 ("[T]he court of Federal claims has no power'to grant affirmative non-monetary relief
 unless it is tied and subordinate to a money judgment."' (quoting Austin v. United
States, 206 Ct. Cl.719, 723 (1975), cert. denied,423 U.S. 911 (1975)), 1qh!dqled
(1999); l&esllands \//ater Dist. v. United States, 109 Fed. Ct. 177,192 (2013); Hatim v.
United States, 106 Fed. C|.677,685 (2012); Smalls v. United States,87 Fed. Cl. 300,
307 (2009); Prvor v. United States,85 Fed. Cl. 97, 103 (2008) (,,Apart from ordering
relief under 28 u.s.c. gg 1491(a)(2) or (b)(2), the court of Federal claims has no power
to grant a declaratory iudgment. . . . The court of Federal claims cannot adjudicate a
complaint that seeks only declaratory relief." (citing Nat'l Air Traffic controllers Ass n v.
united states, 160 F.3d at 717)). None of the exceptions which permit ths united
States court of Federal claims to grant declaratory relief apply to plaintiff. This coun,
therefore, does not have jurisdiction to grant plaintiff the declaratory relief that he
requests.

        The court notes that plaintiff is a frequent litigant in this and other federal couns,
who has filed numerous defective complaints. For example, Mr. Manuel has filed two
complaints in the United states court of Federal claims, both of which were dismissed
for lack of jurisdiction. see Manuel v. United states, 78 Fed. cl. 31 (2007) and Manuel
v. United states, No. 08-329c (Fed. cl. June 10,2009). In addition to the complaints
filed in this court, plaintiff also has filed at least seven previous complaints in the united
states District court for the central Dishict of california. see David Rowland Manuel v.
Ihe Presidinq Judqe. et a1.,2:13-CV-00380 (C.D. Cal. Jan.30,2013) (Application to
Proceed ln Forma Pauperis, attached to the complaint, denied, as the complaint was
'legally and/or factually patently frivolous.");3 David Rowland Manuel v. peoole of the
United States, 2:12-cY-619 (c.D. cal. Feb. 1, 2012) (plaintiff sought "federal exemption


' subsequently, Mr. Manuel appealed to the united states court of Appeals for the
Ninth circuit. on April 24, 2013, the appeal was dismissed for lack of jurisdiction,
because the "notice of appeal was not filed within 30 days after the district cburt's order
91teq9O 91
            February 4,2013." gee David Rowtand Manuel v. presidinq Judqe, et al.,
No 13-55540 (9th Cir. Apr.24,2013) (citing 28 U.S.C. S 2107(a); UniteO States v.
Sadler, 480 F.3d 932, 937 (gth Cir. 2007)).

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 status from any statutes, regulations, ordinances by any federal, state, and local entity,"
 and the court denied plaintiffs Application to Proceed ln Forma Pauperis because the
 complaint was "legally and/or factually patently frivolous"); David Rowland Manuel v.
 Honorable Elihu M. Berle. et al., 2:10-CV-07869 (C.D. Cal. Nov. 4, 2010) (Apptication to
 Proceed ln Forma Pauperis denied as the complaint was "legally and/or factually
 patently frivolous."); David Manuel v. Peoole of the United States of Am. ,2:07-CY-8171
 (C.D. Cal. Jan. 31,2008) (Application to Proceed ln Forma Pauperis denied as the
 complaint was "legally and/or factually patently frivolous" and "District Court lacks
jurisdiction"); David Manuel v. People of the United States of Am.,2:07-CV-2S56 (C.D.
 Cal. May 8, 2007) (Application to Proceed In Forma Pauperis denied as the complaint
 was "legally and/or factually patently frivolous."); David Manuel v. Peoole of the United
 States of Am., 8:04-CV-00675 (C.D. Cal. June 18, 200a) (The Application to proceed tn
 Forma Pauoeris denied as the complaint was "legally and/or factually patenfly frivolous,"
 noting that "[p]laintiff has failed to state a cognizable claim against anyone. He refuses
to name any Defendants or state a viable cause of action. The allegations are 'fanciful,
fantastic and delusional."'); David Manuel v. People of the State of Cal., 2:03-CV-2864
 (C.D. Cal. May 5, 2003) (Application to Proceed ln Forma Pauperis denied as the
 application was "incomplete" and "[i]nadequate[ly]        shows         indigence."). More
 recently, a District court Judge from the central District of california denied an
Application by plaintiff to Proceed ln Forma Pauperis. See Manuel v. presidino Judqe
et al., 2:13-CV-06008 (C.D. Cal. Aug. 29,2013). Ptaintiff appealed to the Ninth Circuit,
who indicated that "[o]ur review of the record confirms that appellant is not entitled to in
forma pauperis status for this appeal because we find the appeal is frivolous. see 2g
U.S.C. S 1915(a)." Manuel v. Presidinq Judoe et at., No. 13-56663 (9th Cir. Oct.23,
2013). The Ninth circuit gave a plaintiff an opportunity to pay the $455.00 filing fee to
the District court for the central District of california and filing fees for the appeal, as
well as proof of payment. Othenrvise the Ninth Circuit stated, "the appeal will be
dismissed by the Clerk for failure to prosecute, regardless of further filings," and
informed plaintiff that "[n]o motions for reconsideration, clarification, or modification of
the denial of appellant's in forma pauperis status shall be entertained." lg!-. plaintiff
failed to pay the requisite fees and the Ninth circuit issued an order on November 21,
2013 dismissing the appeal "for failure to pay the docketing/filing fees in this case."
Manuel v. Presidinq Judqe et al., No. 13-56663 (9th Cir. Nov. 21, 2013)

       As in the other cases previously filed by the plaintiff in this court and other United
states Federal courts, the complaint under review by this court is frivolous, in that it is
based on a non-existent statutory language and, like previous cases filed by this
plaintiff, raises issues which are clearly not within the jurisdiction of this court. The
United States Supreme Court explained in Neitzke v. Williams,4g0 U.S.319 (19g9),
that "a complaint . . . is frivolous where it lacks an arguable basis either in law or in fact."
ld. at 325 (The Supreme Court also stated that the term "'frivolous,, when applied to a
complaint, embraces not only the inarguable legal conclusion, but also the fanciful
factual allegation."). The court may dismiss claims that are "based on an indisputably
meritless legal theory" and "claims whose factual contentions are clearly baseless." ld'.
at 327 (the latter category encompassing scenarios that are "fantastic" and

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"delusional"); see also Denton v. Hernandez, 504 U.S. 25,32-33 (1992); McCullouqh v.
United States, 76 Fed. Cl. 1, 3 (2006), appeal dismissed,236 F. App'x 615 (Fed. Cir.),
reh'q denied (Fed. Cir.), cert. denied,552 U.S. 1050 (2007); Schaqenev. United States,
37 Fed. Cl. 661 , 663 (1 997), appeal dismissed , 152 F .3d 947 (Fed. Cir. 1998) (Table).

         The statute,2S U.S.C. g 1915(eX2), governing proceedings in forma pauperis,
authorizes federal courts to deny in forma pauperis status and to dismiss claims if the
court determines that the claims brought by the pro se plaintiff are frivolous or malicious,
or fail to state a claim on which relief may by granted. The statute at 28 U.S.C. g 1 915
"is designed to ensure that indigent litigants have meaningful access to the federal
courts" and "'to assure equality of consideration for all litigants."' Neitzke v. Williams,
490 U.S. at324,329 (quoting Coppedqe v. United States, 369 U.S. 438,447 (1962)).
Although plaintiffs numerous complaints have been fully and fairly reviewed by various
federal courts, plaintiff has been found, multiple times, to have abused the iudicial
system and to have filed frivolous lawsuits.

                                      CONCLUSION

         Based on the above, this court lacks jurisdiction to adjudicate the allegations
raised in plaintiffs current complaint. Accordingly, plaintiff is denied in forma pauperis
status, and defendant's motion to dismiss is GRANTED. plaintiff's comolaint is
DlsMlssED, with prejudice. Because plaintiff previously has filed more than three civil
actions in federal courts which have been dismissed as frivolous, plaintiff is barred from
filing any future complaints in forma pauperis pursuant to 28 U.S.c. g 1 915 in this court.
The Clerk of the Court shall enter JUDGMENT consistent with this Order and,
accordingly, shall reject any future complaints filed by this plaintiff without the requisite
filing fee.

       IT IS SO ORDERED.




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